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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO



  Maritza Rodriguez and Carlos Martinez, on
  behalf of themselves and all others                   Case No. 1:22-cv-01680
  similarly situated,
                                                        NOTICE OF VOLUNTARY
                                   Plaintiffs,          DISMISSAL OF ACTION
                                                        WITHOUT PREJUDICE
  v.

  Professional Finance Company, Inc.,

                                   Defendant.

       WHEREAS, no defendant has filed an answer or a motion for summary judgment in this

action; and

       WHEREAS, no cross-claim or counter-claim has been filed in this action.

       NOW, THEREFORE, Plaintiffs Maritza Rodriguez and Carlos Martinez hereby dismiss

this action in its entirety without prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i).



Date: July 7, 2022                               Respectfully Submitted,

                                                 /s/ Gary M. Klinger
                                                 Gary M. Klinger
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